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                             EXHIBIT 26
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                         915
                         J. Winer
                       7/13/2021
                 Debra A. Dibble, RDR, CRR, CRC
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                                     In the name of Allah, the Merciful, the Gracious

World Assembly of Muslim Youth                       [logo of the Assembly]                    ‫اﻟﻧد و ة اﻟﻌ ﺎﻟﻣ ﯾﺔ ﻟﻠﺷ ﺑﺎب اﻹ ﺳ ﻼ ﻣ ﻲ‬

Office of the Secretary General                                                No.: 4431………………….……………..
                                                                               Date: 1/9/1413 (February 23, 1993) ……




   His Excellency the honorable brother Professor / Adel Batterjee
   President of the International Islamic Benevolent Organization


   It gives me pleasure to inform you that the Assembly has learned that you have formed an
   organization bearing the name of the Islamic International Benevolent Organization. Given the
   close similarity between the organization (MUNATHAMA) and the Islamic Benevolent
   Committee of the Assembly, whether in terms of their unified logo or their role and function, I
   hope that your Excellency will take this into consideration in the future, as it may confuse the
   clients and donors, despite the absence of any relationship between them from an
   organizational and administrative aspect.

   It is my hope to alert those cooperating with your organization to take this into account if the
   organization’s logo and name remain as they are, since the Assembly and the Benevolent
   Organization affiliated with it are considered not responsible for the activities or
   announcements issued by the organization. I wish to urge the cooperators not to confuse the
   Committee with the organization (MUNATHAMA) in the case of fundraising inside the Kingdom,
   due to the importance of this matter.

   Thank you for your kind cooperation and interest.


   Secretary General                                     [round seal]
   World Assembly of Muslim Youth
   Dr. Mana' bin Hammad Al-Juhani




P.O. Box 10845, Riyadh 11443. Prince Sultan Bin Abdul Aziz Str.             ‫ اﻟﻌﻠﯾﺎ‬- ‫ ﺷﺎرع اﻷﻣﯾر ﺳﻠطﺎن ﺑن ﻋﺑد اﻟﻌزﯾز‬- ١١٤٤٣ ‫ اﻟرﯾﺎض‬- ١٠٨٤٥ ‫ب‬.‫ص‬
Saudi Arabia, Tel. (01) 4641669/4641663, Cable: ISLAMIYAH RIYADH   ‫ اﺳﻼﻣﯾﺔ اﻟرﯾﺎض‬:ً ‫ ﺑرﻗﯾﺎ‬،(٠١) ٤٦٤١٦٦٣ / ٤٦٤١٦٦٩ ‫ ھﺎﺗف‬،‫اﻟﻣﻣﻠﻛﺔ اﻟﻌرﺑﯾﺔ اﻟﺳﻌودﯾﺔ‬
                                                                   (٠١) ٤٦٤١٦٧٦ / ٤٦٤١٧١٠ ‫ ﻓﺎﻛس‬،‫ اﺳﻼﻣﻲ اس ﺟس‬٤٠٠٤١٣ / ٤٠٥٢٢٠ ‫ﺗﻠﻛس‬
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I, Victoria Vaile, Translation Manager for Nova Languageq Inc., being duly sworn, hereby certiff that
Yasser Mansour is a translator affiliated with Nova Languages, Inc., a member of the American Translators
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And that he tanslated the following document from the Arabic language to the English language.
The translation was proofread and reviewed and is accurate to the best of my knowledge and belief.

File: FED-PEC0114420




Sworn to before me this

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